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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA


KAREN EDWARDS,                                                Case No. 8:17-cv-266
an individual

                Plaintiff,

       v.

THE URBAN LEAGUE OF                                            COMPLAINT
NEBRASKA, INC., a Nebraska Non
Profit corporation                                            JURY DEMAND

                      Defendant.

                                       INTRODUCTION

      1.     Karen Edwards (“Ms. Edwards”) worked as Director of Employment &

Career Services at The Urban League of Nebraska, Inc. (“Urban League”) in Omaha,

Nebraska. Ms. Edwards, a black female started working at Urban League on December

7, 2012 and continued until her termination on September 8, 2016. Urban League’s

management has subjected Ms. Edwards to hostile treatment and discrimination on

several prohibited bases.

      2.     Urban League’s treatment of Ms. Edwards started to deteriorate in 2013

when she informed Urban League’s Chief Executive Officer, Thomas Warren, that Urban

League was violating state labor laws concerning wages, comp time hours worked, and

overtime. She continued to advise him of other violations, despite his clear indication he

did not appreciate her comments.

      3.     In May 2015, Ms. Edwards applied for a promotion to the position of Director

of Youth and Education. Urban League awarded the position to Tyrone Marshall, a 33-
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year old Urban League employee who had far less experience than Ms. Edwards. He

immediately was awarded the title of Director of Education.

       4.    One month later, during June 2015, when Ms. Edwards applied for the

position of Director of Youth and Education, she was assigned the duties and

responsibilities but not promoted to a director position. Instead, Urban League initially

changed her title to Coordinator of Career Service. She did all the work associated with

the director position for which she applied, but Urban League withheld her title and c

commensurate compensation until December 2015.

       5.    On October 29, 2015, while at an Urban League sponsored event, Ms.

Edwards learned a close family friend had committed suicide. She asked her supervisor

for permission to leave but her request was denied. Ms. Edwards took her request to Mr.

Warren. He responded by saying, “We need to pray about the situation.” Ms. Edwards

informed him she was an atheist and does not pray. In response, he stated, “Well, that

explains everything.” He told Ms. Edwards Urban League is a religious organization –

which it is not. She told Mr. Warren she believed Urban League was using religion to

suppress its African American employees.

       6.    Four months later, on February 29, 2016, Urban League supervisor Marilyn

Sims placed Ms. Edwards on a six-month performance improvement plan (“PIP”). Ms.

Sims failed to take into consideration that Ms. Edwards received no training for the

programs at issue and she had no control over the programs for which the PIP was put

in place.

       7.    Ms. Edwards has also suffered daily effects of discriminatory treatment in

other aspects of her employment at Urban League.

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       8.     Ms. Edwards dual filed a charge of discrimination with the Nebraska Equal

Opportunity Commission (“NEOC”), NEB 1-16/17-8-48164-RD, and the Equal

Employment Opportunity Commission (“EEOC”), 32E-2016-00718. Ms. Edwards’ Right

to Sue letter is attached as Exhibit A to this Complaint.




                                    VENUE & JURISDICTION

       9.     This matter arises under federal and state law. This Court has jurisdiction

of this matter pursuant to 28 U.S.C. § 1331 based on Ms. Edwards’s federal claims in this

Complaint. This Court has supplemental jurisdiction of the Nebraska state law claims

pursuant to 28 U.S.C. § 1367.

       10.    Venue is proper in this district pursuant to 28 U.S.C § 1391(b)(2), because

the acts forming the basis for this Complaint were orchestrated from, planned in and

conducted in this District.

                                         PARTIES

       11.    Ms. Edwards is a citizen and resident of Omaha, Nebraska. She is an

African-American female. She is employed by Urban League at its Omaha facility.

       12.    Urban League is a Nebraska Nonprofit corporation doing business at 3040

Lake Street, Omaha, NE 68111.

                  HARASSMENT & DISCRIMINATION AT URBAN LEAGUE


       13.    Since being hired, Ms. Edwards has been discriminated against based on

her race, color, sex and religion in violation of Title VII of the Civil Rights Act of 1964, as




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Amended, and Section 48-1104 of the Nebraska FEPA. According to Title VII of the Civil

Rights Act of 1964,

         It shall be an unlawful employment practice for an employer –

         (1) to fail or refuse to hire or to discharge any individual, or otherwise to
               discriminate against any individual with respect to his compensation,
               terms, conditions, or privileges of employment, because of such
               individual’s race, color, religion [or] sex;

         (2) to limit, segregate, or classify his employees or applicants for
              employment in any way which would deprive or tend to deprive any
              individual of employment opportunities or otherwise adversely affect
              his status as an employee, because of such individual’s race, color,
              religion [or] sex; race.
                  1. U.S.C. § 2000e-2.

        14.        Similarly, Nebraska’s FEPA provides:


               It shall be an unlawful employment practice for an employer:
                     (1) To fail or refuse to hire, to discharge, or to harass any
                     individual, or otherwise to discriminate against any individual
                     with respect to compensation, terms, conditions, or privileges of
                     employment, because of such individual's race, color, religion
                     [or] sex.
              Neb. Rev. Stat. § 48-1104(1).

        15.        Ms. Edwards’s employment, and her success as a Director, have been met

with distaste and blame. Urban League’s CEO and management treated her as a pariah

and sanctioned harassment of Ms. Edwards in direct contravention of federal and state

employment statutes. See, e.g., 42 U.S.C. §§ 2000e-2, Neb Rev. Stat. §§48-1104, 1004.

                                            FIRST CLAIM

                       RACE/COLOR DISCRIMINATION BY URBAN LEAGUE
                          IN VIOLATION OF TITLE VII & NEBRASKA FEPA
                        (42 U.S.C. § 2000e-2; Neb. Rev. Stat. § 48-1104 et seq.)
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        16.        Ms. Edwards incorporates by reference paragraphs 1-15, inclusive, as if

fully set forth.

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        17.        Urban League denied to Ms. Edwards the same opportunity for training as

it provides to its white employees.

        18.        There is no legitimate basis justifying Urban League’s decision to deny Ms.

Edwards the opportunity to receive training because she is a black, African-American

employee.



                                            SECOND CLAIM

                          RELGIOUS DISCRIMINATION BY URBAN LEAGUE
                           IN VIOLATION OF TITLE VII & NEBRASKA FEPA
                         (42 U.S.C. § 2000e-2; Neb. Rev. Stat. § 48-1101 et seq.)

        19.        Ms. Edwards incorporates by reference paragraphs 1-18, inclusive, as if

fully set forth.

        20.        When Ms. Edwards requested time off to comfort her daughter after the

recent death of her friend, Urban League denied Ms. Edwards’ request and told her she

needed to “pray about it.” Ms. Edwards told Mr. Warren she was an atheist and did not

pray, to which Mr. Warren responded, “Well that explains everything,” referring to his

constant disagreements with Ms. Edwards.

        21.        Mr. Warren told Ms. Edwards Urban League is a religions organization. It

is not. Ms. Edwards told Mr. Warren that Urban League was using religion to suppress

its Black employees.

        22.        After Ms. Edwards spoke up about the fact that she is not religious, Urban

League’s mistreatment of her intensified.




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                                             THIRD CLAIM

                            SEX DISCRIMINATION BY URBAN LEAGUE
                          IN VIOLATION OF TITLE VII & NEBRASKA FEPA
                       (42 U.S.C. § 2000e-2; Neb. Rev. Stat. § 48-1104 et seq.)

         23.       Ms. Edwards incorporates by reference paragraphs 1-22, inclusive, as if

fully set forth.

         24.       Urban League’s demeaning, disrespectful and harassing conduct was a

regular component of Ms. Edwards’s day-to-day work environment.              Urban League

management knew of and perpetrated the harassment, in direct contravention of 42 U.S.C.

§ 2000e-2 and §48-1104.

         25.       Ms. Edwards was doing her job responsibilities well, but when she applied

for a promotion, Urban league promoted a less experienced male to the position for which

she applied.

         26.       The male employee who was promoted was immediately given the title of

“Director.” When Ms. Edwards applied for a Director position, she was required to wait

over six (6) months for her title to be changed from Manager to Director. She also waited

six (6) months for Urban League to adjust her pay to the Director level, although she was

doing Director level duties the entire six (6) months.

         27.       There is no legitimate basis justifying Urban League’s discriminatory

treatment of Ms. Edwards because she is female.




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                                            FOURTH CLAIM

                                RETALIATION BY URBAN LEAGUE –
                          IN VIOLATION OF TITLE VII & NEBRASKA FEPA
                       (42 U.S.C. § 2000E-2; Neb. Rev. Stat. § 48-1101 et seq.)

         28.       Ms. Edwards incorporates by reference paragraphs 1-27, inclusive, as if

fully set forth.

         29.       Ms. Edwards reported several violations of Nebraska and federal laws

during her employment with Urban League. See, e.g., ¶ 2, supra. Urban League failed to

address and resolve the issues. Urban League took no affirmative action to rectify the

illegal acts that continued in the workplace. Instead, Urban League retaliated against Ms.

Edwards by refusing to provide her the title and compensation to which she was entitled

when she was promoted. Urban league also retaliated by refusing to provide her with

leave when a close family friend, a teenage girl, committed suicide.

         30.       There is no legitimate business reason justifying Urban League’s failure to

correct and change the workplace environment, to inexplicably delay her promotion and

compensation when she was promoted, or show compassion and allowing Ms. Edwards’

leave on the death of her daughter’s close friend.



                                             FIFTH CLAIM

                             AGE DISCRIMINATION BY URBAN LEAGUE –
                           IN VIOLATION OF TITLE VII & NEBRASKA FEPA
                          (29 U.S.C. § 623; Neb. Rev. Stat. § 48-1104 et seq.)

         31.       Ms. Edwards incorporates by reference paragraphs 1-30, inclusive, as if

fully set forth.

         32.       The Age Discrimination in Employment Act prohibits an employer


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              (1) to fail or refuse to hire or to discharge any individual or otherwise
              discriminate against any individual with respect to his compensation,
              terms, conditions, or privileges of employment, because of such
              individual’s age;
              (2) to limit, segregate, or classify his employees in any way which would
              deprive or tend to deprive any individual of employment opportunities or
              otherwise adversely affect his status as an employee, because of such
              individual’s age; or
              (3) to reduce the wage rate of any employee in order to comply with this
              chapter.
Id. at § 623(a)(1), (20, and (3).
       11.    Ms. Edwards was doing her job responsibilities well, but when she applied

for a promotion, Urban league promoted a less experienced 32-year-old male to the

position for which she applied.

       12.    In contrast, Urban League not only failed to promote Ms. Edwards to that

same position as director, but when Urban League did promote her to a Director position,

it failed to award her the title of Director or the salary to which she was entitled for no less

than six (6) months.




                                          REQUEST FOR RELIEF

       WHEREFORE, Ms. Edwards requests judgment in her favor and awarding:

              1.       Damages for Ms. Edwards’s lost and future wages for failure to
                       promote;
              2.       Damages for Ms. Edwards’s emotional pain and suffering,
                       inconvenience, mental anguish, and loss of enjoyment of life;
              3.       Damages for Ms. Edwards’s out-of-pocket expenses for mental
                       health treatment;
              4.       Punitive damages for Urban League’s knowing violation of federal
                       discrimination laws;
              5.       Costs and attorney fees; as allowed by law, and
              6.       Other and further relief as the Court deems appropriate.


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  PLAINTIFF MAKES DEMAND FOR TRIAL BY JURY.
                                KAREN EDWARDS, Plaintiff,



                                By: /s/ Terry A. White
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                                                                EXHIBIT A
